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                    IN THE UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF MISSOURI

In Re:                                         )
                                               )
WESTERN ROBIDOUX, INC,                         )        Case No.
                                               )
                                Debtor.        )        Chapter 11


                    MOTION TO APPROVE INTERIM ORDER
      (A) AUTHORIZING USE OF CASH COLLATERAL; AND (B) SCHEDULING
            A FINAL HEARING PURSUANT TO BANKRUPTCY RULE 4001

         COMES NOW, the debtor, by and through its undersigned counsel, and hereby moves this

Court pursuant to 11 U.S.C. § 363(c)(2) and Bankruptcy Rule 4001 to use its cash collateral. In support

of this motion, Debtor states as follows:



                                      Jurisdiction and Venue

         1.     This is a Core proceeding that this Court may hear and determine pursuant to 28

U.S.C. § 157(b)(2)(M).

         2.     Venue is proper in this district under 28 U.S.C. § 1409 (a).



                                            Background

         3.     The debtor filed a petition for relief under Chapter 11 of the United States

Bankruptcy Code on October 19, 2019.

         4.     The debtor is a Missouri corporation.

         5.     The debtor is a commercial printing company which has been continuously operating

since the nineteenth century.

         6.     The debtor continues to manage its property as a debtor-in-possession under 11

U.S.C. §§ 1107 & 1108. The debtor derives substantially all of its income from the sale of sawdust.

         7.     Nodaway Valley Bank holds a first priority perfected lien in the debtor's cash,

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accounts receivable, equipment, and inventory securing debts owing Nodaway Valley Bank in the

approximate amount of $100,000.

        8.       As far as the debtor is aware, no other creditor has an interest in the debtor’s cash or

accounts receivable.

        9.       The debtor is currently owed accounts receivable due within terms in the approximate

amount of $292,000, virtually all of which it estimates is collectible. Additionally, the debtor currently

has cash in its accounts summing to $147,045.47 all of which is proceeds of accounts receivable.

Finally, the debtor has equipment and inventory purchased for approximately $6,942,591. Most of

this is equipment which has depreciated substantially. However, the debtor believes the price at which

it could sell all of its inventory and equipment exceeds the debt owed to Nodaway Valley Bank by a

substantial amount. The only possible competing perfected lien in all this property is a lien held by

Fujifilm on certain printing equipment and supplies – however, the debtor’s records show that

Fujifilm’s claim has been paid in full.

        10.      Nodaway Valley Bank has a substantial equity cushion.

        11.      During this case, the debtor expects to operate profitably as it has historically done

and generate receipts in excess of its disbursements.

        12.      The debtor believes that should it utilize its cash collateral and continue its operations,

the realizable value of its accounts receivable will increase considerably.

        13.      Attached hereto as Exhibit A and incorporated herein by reference are the debtor's

financial projections through illustrating what the debtor projects its income and expenses will be.

        14.      The debtor has 16 employees and its ongoing existence is economically beneficial to

its local community, St. Joseph, Missouri.

        15.      The debtor's Accounts Receivable and the funds in its accounts constitute cash

collateral under 11 U.S.C. § 363(a).



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                                          Relief Requested

        16.      The debtor has no source of income other than its accounts receivable. If the debtor

is not permitted to use the accounts receivable in the ordinary course of its business, the debtor will

be unable to pay its post-petition operating expenses, precluding its further operation and causing

imminent and irreparable harm to its estate. Accordingly, by this Motion, the debtor seeks, the

following:

                a.      Authority to use the cash collateral on an interim basis in accordance with the

        terms and conditions set forth in the proposed Interim Order (I) Authorizing Use of Cash

        Collateral, and (II) Scheduling a Final Hearing Pursuant to Bankruptcy Rule 4001(b) (the

        “Interim Order”). A copy of the proposed Interim Order is attached hereto as Exhibit B and

        is incorporated by reference;

                b.      Setting a final hearing on the continued use of the Cash Collateral; and

                c.      Allowing the debtor to use the Cash Collateral through November 4, 2019,

        subject to renewal and modification.



                                           Basis for Relief

I.      Authorizing the Use of Cash Collateral

        17.     Section 363(c)(1) of the Bankruptcy Code provides that if the business of the debtor

is authorized to be operated under 11 U.S.C. § 1108, unless the Court orders otherwise, the trustee

(and the debtor-in-possession exercising the powers of a trustee under § 1107) may enter into

transactions, including the sale or lease of property of the estate, and may use property of the estate,

in the ordinary course of business, without notice or a hearing.

        18.     Section 363(c)(2) of the Bankruptcy Code provides that the trustee may not use, sell

or lease cash collateral under subparagraph (c)(1) unless each entity that had an interest in such cash

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collateral consents or unless the court, after notice and a hearing, authorizes such use, sale or lease in

accordance with the provisions of § 363.

        19.     Section 363(c)(3) of the Bankruptcy Code allows the Bankruptcy Court to issue a

preliminary order allowing Debtor to use its Cash Collateral on an interim basis if there is a reasonable

likelihood that the Debtor will prevail on the final hearing.

        20.      The only party that has an interest in the cash collateral is Nodaway Valley Bank. In

order for the debtor to continue its operations, meet its ordinary course business expenditures,

administer and preserve the value of the estate, and to avoid immediate and irreparable harm, the

debtor requires the use of the cash collateral and for this Court to enter an interim order allowing

Debtor to use the cash collateral as provided in §363(c)(3).

II.     Proposed Adequate Protection

        21.     Section 363(e) of the Bankruptcy Code provides that on request of an entity that has

an interest in property used, sold or leased or proposed to be used, sold or leased by the trustee, the

Court, with or without a hearing, shall prohibit or condition such use, sale or lease as is necessary to

provide adequate protection of such interest.

        22.     Section 361 of the Bankruptcy Code provides that when adequate protection of an

interest of an entity in property is required under §§ 362, 363 or 364, “such adequate protection may

be provided by – (1) requiring……a cash payment or periodic cash payments to such entity, to the

extent that….the use, sale or lease under section 363 of this title….results in a decrease in the value

of such entity’s interest in such property; or (2) providing to such entity an additional or replacement

lien to the extent that such stay, use, sale, lease or grant results in a decrease in the value of such

entity’s interest in such property; or (3) granting such other relief…..as will result in the realization by

such entity of the indubitable equivalent of such entity’s interest in such property.”




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        23.      In a final cash collateral order, the debtor proposes to grant the following to Nodaway

Valley Bank as adequate protection of its interest in the debtor’s cash collateral:

              a. Adequate Protection Liens. As additional adequate protection, the debtor proposes to

                 grant to Nodaway Valley Bank the following Replacement Liens subject to the

                 limitations imposed by subpart (iv) below (the “Adequate Protection Liens”).

                      i. Replacement Liens. The debtor proposes to grant to Nodaway Valley Bank

                         replacement security interests in, and liens on, all post-Petition Date acquired

                         property of the debtor and its bankruptcy estate bankruptcy estate that is the

                         same type of property that Nodaway Valley Bank holds a duly perfected pre-

                         Petition Date lien (the “Replacement Liens”). The amount of the Replacement

                         Lien shall be up to the amount of debt owed to Nodaway Valley Bank. The

                         priority of the Replacement Liens shall be in the same priority as Nodaway

                         Valley Bank’s pre-Petition Date liens and security interests.

                     ii. Protection of Priority. Except for the Carve Out, defined below in subpart (d)

                         the Replacement Liens shall not be (i) subject and subordinate to any liens

                         arising after the Petition Date including, without limitation, any liens or

                         security interests granted in favor of any federal, state, municipal or other

                         governmental unit, commission, board or court for any liability of the debtor

                         or (ii) subordinated to or made pari passu with any other lien or security interest

                         under Code §§ 363 or 364 or otherwise including without the consent of the

                         Secured Party impacted by such lien or security interest.

                     iii. Automatic Perfection. The debtor proposes that the Replacement Liens shall

                         be effective and perfected upon the date of entry of the final order without

                         necessity for the execution or recordation of filings of deeds of trust,

                         mortgages, security agreements, control agreements, pledge agreements,

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                    financing statements or similar documents, or the possession or control by

                    Nodaway Valley Bank of, or over, any property subject to the Replacement

                    Liens: and that Nodaway Valley Bank would be authorized, but not required,

                    to file or record financing statements or similar instruments in any jurisdiction

                    in order to validate and perfect the Adequate Protection Liens. Any error or

                    omission in such documents shall in no way affect the validity, perfection or

                    priority of the Adequate Protection Liens.

                iv. Secured Party Lien Challenges. Nothing herein shall prohibit any party from

                    challenging the amount of Nodaway Valley Bank’s claim or the nature, extent

                    and priority of Nodaway Valley Bank’s security interests in, and liens on, the

                    debtor’s property.

         b. Superpriority Claims. The debtor also proposes to the extent that the liens the debtor

            proposes to grant above above prove inadequate to protect Nodaway Valley Bank

            from a demonstrated diminution in value of its collateral position from the Petition

            Date and subject to the Carve Out, Nodaway Valley Bank be granted an administrative

            expense claim under Code § 503(b) with priority in payment under Code § 507(b) over

            any and all administrative expenses of the kinds specified or ordered under any

            provisions of the Bankruptcy Code, including Code §§ 105, 326, 328, 330, 331, 503,

            507(a), 726, 1113 or 1114 (“Superpriority Claims”);




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              c. Additional Adequate Protection. The debtor proposes that the adequate protection

                 granted in the Final Order be without prejudice to Nodaway Valley Bank seeking

                 further and other adequate protection to the extent it deems the same necessary and

                 appropriate.

              d. Carve Out – Only in event that the debtor or its estate have no property otherwise

                 available to pay the following listed items, the Replacement Liens shall be subject to

                 carve outs for: (1) amounts payable to the United States Trustee pursuant to 28 USC

                 1930(a) and (2) if this case is converted to a case under Chapter 7 of the Bankruptcy

                 Code, the fees and expenses of a chapter 7 trustee up to and not exceeding $10,000.

              e. Payment – the debtor will make a monthly payment in the amount of $2,500 to

                 Nodaway Valley Bank. This payment shall be applied against Nodaway Valley Bank’s

                 claim against the debtor.

              f. Budget – the debtor proposes that in a final cash collateral order that it be permitted

                 each month to expend no more than 10% more than the budget line items as set forth

                 under the 30-day budget attached to the proposed Interim Order attached as Exhibit

                 A.

        24.      There is a reasonable likelihood that debtor will prevail at the final hearing with respect

to its motion to use the Cash Collateral. The debtor’s operations have historically been profitable and

the debtor projects that will continue.

        25.      Accordingly, the debtor believes that given the circumstances, the requested relief is

appropriate and necessary under 11 U.S.C. § 363(c)(3).

        26.        Further, the debtor continues to operate its business and projects to generate

sufficient income to meet its operating expenses, thus preserving the secure Nodway Valley Bank’s

position in the cash Collateral.

        27.      The debtor proposes to use the Cash Collateral under this motion pursuant the Interim

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Order Attached as Exhibit A until the Court conducts a final hearing.



        WHEREFORE, the Debtor requests that this Court enter an order: (i) authorizing the use of

the Cash Collateral in accordance with the terms and conditions set forth in the attached Interim

Order; (ii) setting a final hearing on the use of the Cash Collateral; and (iii) such other and further

relief as this Court deems just and proper.



                                                MERRICK, BAKER & STRAUSS, P.C.



                                                By:/s/ victor f. weber
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                                                PROPOSED ATTORNEYS FOR DEBTOR



                                   CERTIFICATE OF SERVICE

        The undersigned certifies that on October 19, 2019, a true and complete copy of the foregoing
was sent via electronic mail to those parties registered to receive electronic notice and to via US mail
and electronic mail to:

Christopher Miles
Husch Blackwell, LLP
4801 Main Street
Suite 100
Kansas City, Mo. 64112-2551
Christopher.Miles@huschblackwell.com

And via electronic mail only to:
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Office of the U.S. Trustee
400 E 9th St
lloyd.e.mueller@usdoj.gov


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                                /s/Victor Weber




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